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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                 MIDLAND/ODESSA DIVISION

PHILADELPHIA INDEMNITY                               §
INSURANCE COMPANY,                                   §
                                                     §
                                                     §
          Plaintiff,                                 §
                                                     §
v.                                                   §     CASE NO. 7:19-CV-00107-DC
                                                     §
THE ODESSA FAMILY YMCA,                              §
                                                     §
          Defendant.                                 §

                            DECLARATION OF LISA HENDERSON

Lisa M. Henderson, under penalty of perjury, testifies as follows:

          1.     I am a senior counsel with Clyde & Co US LLP and I represent Philadelphia

Indemnity Insurance Company (“Philadelphia”) in the above-captioned matter. I make this

declaration based on my personal knowledge.

          2.     This declaration is submitted in support of Philadelphia’s Motion to Compel

Compliance with a Subpoena.

          3.     Attached as Exhibit A is a true and correct copy of the litigation hold notice letter sent

by me to Sam Rogers on April 24, 2019.

          4.     Attached as Exhibit B is a true and correct copy of an email sent by Mr. Rogers on

April 24, 2019 to me and copying YMCA’s counsel in response to Philadelphia’s litigation hold

letter.

          5.     Attached as Exhibit C is a true and correct copy of the Notice of Subpoena served on

all counsel of record on September 30, 2019.




DECLARATION OF LISA HENDERSON                                                                      Page 1
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       6.     Attached as Exhibit D is a true and correct copy of the Proof of Service, reflecting

that Sam Rogers was personally served on October 2, 2019 in Dallas, Texas.

       7.     Attached as Exhibit E is a true and correct copy of an email sent by Sam Rogers to

me on October 9, 2019.

       8.     Attached as Exhibit F is a true and correct copy of a second email sent by Sam Rogers

to me on October 9, 2019.

       9.     Attached as Exhibit G is a true and correct copy of a letter sent by me to Sam Rogers

on October 16, 2019.

       10.    Attached as Exhibit H is a true and correct copy of a letter sent by me to Sam Rogers

on October 31, 2019.

       11.    Attached as Exhibit I is a true and correct copy of a set of email correspondences

between myself and Kyle Fonville between November 12, 2019 and December 3, 2019, in an

attempt to come to an agreement re: retaining a computer forensic expert.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed March 13, 2020 in Dallas, Texas.



                                                    /s/ Lisa M. Henderson
                                                    Lisa M. Henderson




DECLARATION OF LISA HENDERSON                                                               Page 2
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                    EXHIBIT A
           Case 7:19-cv-00107-DC Document 39-1 Filed 03/13/20 Page 4 of 37




                                                                                                                             Clyde & Co US LLP
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                                                                                                                  Telephone: +1 214 540 7539
                                                                                                                   Facsimile: +1 214 540 7540
                                                                                                                                  www.clydeco.us
                                                                                                                             Lisa M. Henderson
                                                                                                                    lisa.henderson@clydeco.us


April 24, 2019

VIA ELECTRONIC MAIL ONLY

Samuel Rogers
T Rock Roofing & Contracting
9330 Lyndon B. Johnson Freeway
Suite 900
Dallas, TX 75243
rogers1658075@gmail.com


Re:       Case No. 7:19-cv-107; Philadelphia Indemnity Insurance Company v. The Odessa
          Family YMCA; In the United States District Court for the Western District of Texas,
          Midland/Odessa Division


Dear Mr. Rogers:

        I am writing to you on behalf of Philadelphia Indemnity Insurance Company
%iFWX[PST[_WXPj&( fWXRW aTcPX]TS 9[hST $ 9^* c^ aT_aTbT]c Xcb X]cTaTbcb fXcW aTb_TRc c^ cWT
appraisal proceeding in which you participated as the appraiser for the insured, The Odessa
<P\X[h OC97 %cWT i7__aPXbP[j&* E] QTWP[U ^U FWX[PST[_WXP( fT WPeT UX[TS cWT PQ^eT-referenced
lawsuit to ask the Court to set aside the appraisal award.

        The purpose of this letter is to advise you of your legal obligation to preserve all
evidence related to your activities and communications arising out of your service as appraiser
in the Appraisal. You and any of your employees, representatives and agents are directed to
preserve, and not alter, modify or destroy, any materials, including electronically stored
information and other records in your possession or control that in any way may relate to your
engagement and actions in connection with the Appraisal.

       Records, as used here, includes paper documents, audio recordings, videotapes and
electronic images, emails, social media links or postings, messages including text messages or
other messages through mobile devices, Internet usage files, as well as all computers and
computer files containing electronic information. This legal requirement extends to personal
computers and personal mobile devices and accessories, as well as home devices. As well as
word processing documents, spreadsheets, databases, calendars, telephone logs, telephone
messages, and any other electronic information you created, received or maintained on a


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              Atlanta, Chicago, Los Angeles, Miami, New Jersey, New York, Orange County, San Francisco and Washington D.C.
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Samuel Rogers
April 24, 2019
Page 2


computer network or on any individual computer relating to or arising out of the Appraisal. This
also includes any computer hard drives, removable media (such as CDs and DVDs), laptop
computers, PDAs, Blackberry devices, and any other locations or devices on which hard copy or
electronic data is stored.

        In complying with this request, you are also directed to immediately preserve and set
aside all of the records referenced above. This means that any such items that, in the ordinary
course of business, might be subject to deletion, overwriting, or any other possible means of
destruction, should be preserved. If you have any questions on how to comply with this
directive, please contact me at the telephone number or email address appearing above.

Very truly yours,




Lisa M. Henderson
Senior Counsel




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                    EXHIBIT B
            Case 7:19-cv-00107-DC Document 39-1 Filed 03/13/20 Page 7 of 37


From:                   Samuel Rogers
To:                     Henderson, Lisa
Cc:                     Chris Lyster; Todd Hurd
Subject:                Re: Odessa Family YMCA; Claim No. 1090985 [CC-US2.FID713660]
Date:                   Wednesday, April 24, 2019 9:28:22 AM


I appreciate the letter but I am not part of your battle.

The appraisal panel met, made a decision and agreed upon a total.
My job with this award is completed at this point.

Sam Rogers
214-632-0444
Sent from my iPhone

On Apr 24, 2019, at 8:22 AM, Henderson, Lisa <Lisa.Henderson@clydeco.us> wrote:


       Mr. Rogers,
       Attached please find a litigation hold letter.
       Regards,
       Lisa
           Lisa Henderson
           Senior Counsel | Clyde & Co US LLP
           Direct Dial: +1 214 540 7539 | Mobile: +1 214 632 4723

                                                            10440 N Central Expressway | Suite 800 | Dallas | TX 75231 | USA
                                                            Fax +1 214 540 7540 | www.clydeco.us




       If our account details change, we will notify these to you by letter, telephone or face-
       to-face and never by email.

       This email message and any attachments may contain legally privileged and/or confidential
       information intended solely for the use of the individual or entity to whom it is addressed.
       If the reader of this message is not the intended recipient, you are hereby notified that any
       reading, dissemination, distribution or copying of this message or its attachments is strictly
       prohibited. If you have received this email message in error, please immediately notify us
       by telephone, fax or email and delete the message and all attachments thereto. Thank you.
       Clyde & Co US LLP is a Delaware limited liability law partnership affiliated with Clyde &
       Co LLP, a multinational partnership regulated by The Law Society of England and Wales.

       Disclosure: To ensure compliance with requirements imposed by the IRS in Circular 230,
       we inform you that any tax advice contained in this communication (including any
       attachment that does not explicitly state otherwise) is not intended or written to be used,
       and cannot be used, for the purpose of avoiding penalties under the Internal Revenue Code
       or promoting, marketing or recommending to another party any transaction or matter
       addressed herein.
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                    EXHIBIT C
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                           MIDLAND/ODESSA DIVISION

 PHILADELPHIA INDEMNITY                        §
 INSURANCE COMPANY,                            §
                                               §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §     CASE NO. 7:19-CV-00107-DC
                                               §
 THE ODESSA FAMILY YMCA,                       §
                                               §
        Defendant.                             §

  NOTICE OF SUBPOENA FOR PRODUCTION OF DOCUMENTS TO SAM ROGERS

       PLEASE TAKE NOTICE that Plaintiff Philadelphia Indemnity Insurance Company will,

following service of this Notice, serve the attached Subpoena to Produce Documents to Sam Rogers

(Exhibit A).

                                          Respectfully Submitted,
                                          /s/ Lisa M. Henderson______________
                                          Lisa M. Henderson
                                          State Bar No. 24025423
                                          Admitted in Western District of Texas
                                          lisa.henderson@clydeco.us
                                          L. Kimberly Steele
                                          State Bar No. 04127600
                                          Admitted in Western District of Texas
                                          kimberly.steele@clydeco.us
                                          CLYDE & CO
                                          10440 N. Central Expressway
                                          Suite 800
                                          Dallas, TX 75231
                                          Telephone:     214.540.7539
                                          Facsimile:     214.540.7540

                                          ATTORNEYS FOR PLAINTIFF




NOTICE OF SUBPOENA                          PAGE 1
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document has been served on all counsel of

record pursuant to the Federal Rules of Civil Procedure, on September 30, 2019.

                                            /s/ Lisa M. Henderson______________
                                            Lisa M. Henderson




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                    EXHIBIT D
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                    EXHIBIT E
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From:           Samuel Rogers
To:             Henderson, Lisa
Subject:        Re: Document Subpoena [CC-US2.FID713660]
Date:           Wednesday, October 9, 2019 12:59:34 AM
Attachments:    ODESSA-YMCA-UNIV_Final Draft with_without Removal Depreciation.pdf
                ATT00001.htm
                ODESSA_YMCA_CAVALRY.pdf
                ATT00002.htm
                Daycare.pdf
                ATT00003.htm
                YMCA.pdf
                ATT00004.htm


Lisa,

Please find below an email between chad and I that I kept and the final awards and our
respective scopes.

Usually once a file is completed with awards completed, I delete all doc, emails and reports
except for the awards and the final scope.

Samuel Rogers
214-632-0444
rogers1658075@gmail.com
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                    EXHIBIT F
       Case 7:19-cv-00107-DC Document 39-1 Filed 03/13/20 Page 24 of 37


From:               Samuel Rogers
To:                 Henderson, Lisa
Subject:            Fwd: Odessa YMCA - pull test analysis.
Date:               Wednesday, October 9, 2019 12:35:48 PM
Attachments:        Pull Test Fastener Report - YMCA (1).pdf
                    ATT00001.htm
                    20-95-46 Supplemental Report.pdf
                    ATT00002.htm
                    YMCA agreed umpire letter.pdf
                    ATT00003.htm
                    Pull Test Criteria .pdf
                    ATT00004.htm
                    White pull test results and map.pdf
                    ATT00005.htm


Sorry, thought it was attached.


Samuel Rogers
214-632-0444
rogers1658075@gmail.com




      Begin forwarded message:

      From: Samuel Rogers <rogers1658075@gmail.com>
      Subject: Odessa YMCA - pull test analysis.
      Date: December 18, 2018 at 9:45:26 AM CST
      To: Chad Fuller - Appraiser <chadf@cavalryconstruction.com>

      Chad,

      Please find attached, umpire agreement, and both pull test reports, one from the client by Stephen Childs of OMG
      Roofing products and the other from the carriers engineer by Troy White of Jim D. Koontz and Co. It appears that both
      the carrier and the client are in agreement the pull test have failed.

      In Mr. Whites report on page 2 it states the following ….

               Fifty-nine of the pull tests over the gypsum decks had an average
               withdrawal strength of 284.6 pounds. Ten pull tests were performed
               over the lightweight concrete with an average withdrawal strength of
               123.4 pounds.
      As per the criteria on DR-06-11 and pull test over gypsum must have a minimum pull strength over 300lbs and over
      lightweight concrete it must have a strength of 360lbs. Both the carrier and the insured are in agreement that the roof
      has failed. Mr. White conducted 71 pull tests and according to his own report 69 total tests failed to meet the
      minimum 300lbs pull test. That is a 97% fail rate. Mr. White then goes on to report on page 3 in his findings he even
                              Up to fifty percent (50%) of the lightweight concrete
      continues to state the following …..
      decking over the swimming pool may be required to be replaced due to water
      damage. (However when you compare his findings per test site and the map
      it shows 100% of the roof failed in this location) However, moisture in the
      lightweight concrete decking appears to be due primarily to condensation
      stemming from conditions on the interior of this area. It is possible, due to
      constructability and economy of scale, that total replacement in this area
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would be more feasible.
I took Mr. Whites test site measurement report (exhibit 5) and color coded the failed pull tests to the roofing sections.
More that 60% of the roof is shaded yellow and according to Mr. White, should at least be replaced. This is from the
carriers engineer and we are in agreement. The client engineer suggests that only his pull test #3 which is equivalent
to the carriers pull test #3 which is the only section that did not fail which means the carrier and the customer are
agreed that only a small section maybe 10x10 has not failed the pull test standards. Based on these findings there is no
doubt that as stated by Mr. White, due to constructability and economy of scale, that total replacement in this area
would be more feasible.


Hope this helps. I don’t think I need any more reports and will suggest that any further testing will only jeopardize
further the integrity of a roof that the carriers engineer has already shown to be less than acceptable standards.


Send me you’re estimate asap.

Samuel Rogers
214-632-0444
rogers1658075@gmail.com
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                    EXHIBIT G
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                                                                                                                              www.clydeco.us
                                                                                                                           Lisa M. Henderson
                                                                                                                  lisa.henderson@clydeco.us


October 16, 2019

Via Electronic Mail

Samuel Rogers
131 Oakview Drive
Lewisville, TX 75077
rogers1658075@gmail.com

Re:       Philadelphia Indemnity Insurance Co. v. The Odessa Family YMCA,
          Case No. 7:19-cv-00107-DLC (W.TX.)

Dear Mr. Rogers:

        As you are aware, we are counsel for Philadelphia Indemnity Insurance Company
(“Philadelphia”) in the above-captioned action. We write in connection with and to meet and
confer as required under the Federal Rules of Civil Procedure and any applicable local rules
regarding your responses to Philadelphia’s subpoena for production of documents. If the issues
discussed herein cannot be resolved informally, Philadelphia reserves the right to submit any
remaining and unresolved issues to the Court for determination.

        Philadelphia’s subpoena requires production of inter alia “[a] complete copy of [Your]
file(s) CONCERNING the YMCA-PHILADELPHIA APPRAISAL” and “All DOCUMENTS, ESI,
and COMMUNICATIONS CONCERNING the YMCA- PHILADELPHIA APPRAISAL.”

        In your October 9, 2019 emails, responding to the subpoena, you provided an email
between Mr. Fuller and yourself with attachments, a final draft report prepared by you, a report
from Cavalry Construction, and two appraisal awards from the umpire. You also stated that
“[u]sually once a file is completed with awards completed, I delete all doc, emails and reports
except for the awards and the final scope.”

       First, does your above-quoted statement mean that you did in fact delete each and every
copy in your possession of every document, email, and report relating to the YMCA-Philadelphia
Appraisal (as that term is defined in the subpoena) except for the materials you sent with your
October 9 emails?

       Second, on many modern software systems it is possible to recover files even after they
have been “deleted” by a user. The subpoena requires the production of Electronically Stored
Information (ESI) defined broadly to include “all information of all kinds maintained by electronic


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data processing systems including . . . input and/or output used or produced by any software
program or utility . . . all miscellaneous files and/or file fragments, regardless of the media on
which they reside and regardless of whether said ESI consists in an active file, deleted file or file
fragments . . .” It further included electronic files on any kind of medium: “information stored on
both personal and company-issued, owned, or operated desktop or laptop computers, PDAs,
cellular phones, smartphones, databases, hard drives, servers, backup tapes, archival tapes,
voice mail memories, website log files, USB/flash drives, hard discs, floppy disks, CD-ROMs,
online storage services, online communication services, and any other means or vehicle of ESI
storage and/or transmittal.” Accordingly (and if the answer the first question above is in the
affirmative), we propose to arrange for an independent information technology person to assist
you in recovering the ESI relevant to the YMCA-Philadelphia Appraisal matter from the devices,
software, and systems where they were created, transmitted, and/or stored. Philadelphia will
pay the cost of this independent information technology person’s work. We understand that you
may also have ESI relating to other clients and matters. This person would not share such ESI
with Philadelphia. You would have the opportunity to review and remove non-responsive ESI
relating to other clients and matters before producing responsive ESI to Philadelphia.

          To assist in this process, please:

    (1) Identify all devices on which any ESI relevant to the YMCA-Philadelphia Appraisal
        matter existed at any time (e.g. all laptop computers, desktop computers, phones,
        tablets, hard drives, CDs, DVDs, USB drives, etc.). Please provide the make, model,
        telephone number (if applicable), and location of each device.

    (2) Identify all software that you used to create, transmit, and/or store ESI relevant to the
        YMCA-Philadelphia Appraisal at any time (e.g. MS Outlook, MS Word, MS Excel,
        Xactimate, etc.)

    (3) Identify all email, messaging, sharing, and/or file-storage services that you used to send
        or store ESI relevant to the YMCA-Philadelphia Appraisal at any time (e.g. webmail,
        Google Drive, Google Docs, iCloud, Dropbox, etc.). This would include without limitation
        all phone call logs and voicemail systems.

    (4) Advise within 10 days of the date of this letter when the independent information
        technology person could have access to the devices -- including smartphones --
        identified above.

        Third, please state when you deleted each of the documents, emails and reports relating
to the YMCA-Philadelphia Appraisal and a description of the materials deleted.

       Fourth, please take steps to preserve all ESI relevant to the YMCA-Philadelphia
Appraisal matter including but not limited to de-activating any software or software features that
would automatically delete or overwrite ESI.




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October 16, 2019
Page 3


       Fifth, did you have any contracts or agreements related to your performance of appraisal
services relating to the YMCA-Philadelphia Appraisal? Any documents related to such
contracts or agreements would fall within the scope of the subpoena and should be produced.

Very truly yours,




Lisa M. Henderson
Senior Counsel

cc:       Chris Lyster
          chris@pulshaney.com

          W. Kelly Puls
          kelly@pulshaney.com

          Mark Haney
          mark@pulshaney.com

          Kim Steele
          kimberly.steele@clydeco.us

          Brian Harrison
          brian.harrison@clydeco.us

          David Rhodes
          david.rhodes@clydeco.us




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                    EXHIBIT H
          Case 7:19-cv-00107-DC Document 39-1 Filed 03/13/20 Page 31 of 37




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                                                                                                                 Facsimile: +1 214 540 7540
                                                                                                                              www.clydeco.us
                                                                                                                           Lisa M. Henderson
                                                                                                                  lisa.henderson@clydeco.us


October 31, 2019

Via Electronic Mail

Samuel Rogers
131 Oakview Drive
Lewisville, TX 75077
rogers1658075@gmail.com

Re:       Philadelphia Indemnity Insurance Co. v. The Odessa Family YMCA,
          Case No. 7:19-cv-00107-DLC (W.TX.)

Dear Mr. Rogers:

         As you are aware, we are counsel for Philadelphia Indemnity Insurance Company
(“Philadelphia”) in the above-captioned action. We write to follow up on our October 16, 2019
letter to you regarding your responses to Philadelphia’s subpoena for production of documents.

        Our October 16 letter, inter alia: (1) asked for clarification of your October 9 emails
responding to the subpoena explaining your practice of deleting documents, emails, and
reports; (2) explained that Philadelphia would arrange for an independent information
technology person to assist you in recovering the Electronically Stored Information ("ESI")
relevant to the YMCA-Philadelphia Appraisal; (3) asked you to identify your devices, software,
systems, and services relevant to the YMCA-Philadelphia Appraisal; (4) asked you to advise
within 10 days of the date of the letter when the information technology person could have
access to these devices/systems; (5) asked you to state when you deleted each of the
documents, emails, and reports relating to the YMCA-Philadelphia Appraisal and to describe the
materials deleted; (6) asked you to take steps to preserve all ESI relevant to the YMCA-
Philadelphia Appraisal matter including but not limited to de-activating any software or software
features that would automatically delete or overwrite ESI; and (7) asked you to produce any
contracts or agreements related to your performance of appraisal services relating to the
YMCA-Philadelphia Appraisal.

      Unfortunately, we have not received any response from you to our letter. Please provide
adequate responses on all of the issues raised in the October 16, 2019 letter by no later than
November 5, 2019. If you would like to discuss these matters by telephone, please provide
some dates and times when you are available to do so.




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          Atlanta, Chicago, Kansas City, Los Angeles, Miami, New Jersey, New York, Orange County, San Francisco and Washington D.C.
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October 31, 2019
Page 2


       We look forward to informally resolving the matters raised in the October 16 letter. But if
they cannot be resolved informally we will submit them to the Court for determination, by way of
a motion to compel or otherwise, and we may ask the Court to award Philadelphia its attorneys'
fees and costs.

Very truly yours,




Lisa M. Henderson
Senior Counsel

cc:       Chris Lyster
          chris@pulshaney.com

          W. Kelly Puls
          kelly@pulshaney.com

          Mark Haney
          mark@pulshaney.com

          Kim Steele
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                     EXHIBIT I
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From:              Henderson, Lisa
To:                Kyle Fonville
Subject:           No. 7:19-cv-00107-DC; Third Party Subpoena to Sam Rogers [CC-US2.FID713660]
Date:              Tuesday, December 3, 2019 10:19:01 AM
Attachments:       image003.png
                   image004.jpg
                   image005.png


Kyle,

Following up on my email below. Please let me know if the proposed terms are acceptable to your
client.

Thanks,
Lisa



Lisa Henderson
Senior Counsel | Clyde & Co US LLP
Direct Dial: +1 214 540 7539 | Mobile: +1 214 632 4723


                                                       10440 N Central Expressway | Suite 800 | Dallas | TX 75231 | USA
                                                       Fax +1 214 540 7540 | www.clydeco.us




From: Henderson, Lisa [mailto:Lisa.Henderson@clydeco.us]
Sent: Wednesday, November 20, 2019 1:58 PM
To: Kyle Fonville
Subject: No. 7:19-cv-00107-DC; Third Party Subpoena to Sam Rogers [CC-US2.FID713660]

Kyle,

Thank you for your proposal below.

We take issue with your representation that your client "has fully complied [with] the enforceable
provisions of the subpoena, if any. He has given you everything that he has kept in the regular course of
his business relating to the YMCA project at issue in your lawsuit." In its subpoena, Philadelphia seeks
all DOCUMENTS and ESI concerning the appraisal, which would include materials your client admits he
has deleted. Your client has an obligation to take reasonable means to locate and produce such
"deleted" material.

Further, as you note, Texas recognizes three bases for setting aside an appraisal award, one of which is
failure to comply with policy requirements. The policy's appraisal provision requires the appointment of
an impartial appraiser. Accordingly, an award is not made in substantial compliance with the
requirements of the policy when there is evidence of bias on the part of an appraiser or umpire.
Hennessey v. Vanguard Ins. Co., 895 S.W.2d 794, 798 (Tex. App. 1995), writ denied (Aug. 1, 1995).
Because Philadelphia has plead that it is seeking to set aside the award on the basis that it was not in
compliance with the policy requirements, it is entitled to discovery in support of this claim. Further,
Philadelphia is entitled to dispute coverage for an appraisal award. Philadelphia contends that a portion
of Mr. Rogers' estimate, on which the award is based, is not for the repair or replacement of covered
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hail damage. Philadelphia seeks Mr. Rogers' file documents to determine the bases for certain line
items included in his estimate.

Philadelphia cannot agree to each of the items set forth in your proposal below, but offers the following
counter-proposal:

    ·   Philadelphia releases your client from any and all claims or causes of action relating to the
        appraisal at issue in the lawsuit, including without limitation claims that my client wrongfully
        deleted any files despite the fact that doing so was and is his regular business practice, but this
        release does not extend to claims that Philadelphia does not know or suspect to exist in its favor
        at the time of executing this release and that, if known by it, would have materially affected its
        decision to release your client on the terms set forth herein;
    · Your client and Philadelphia will jointly retain a forensic computer expert to search for any of
        the following documents (defined as the “Documents”) contained on your client’s computers,
        including any desktops or laptops, cellular telephone and voicemail;
              All communications with the umpire;
              Your client’s Xactimate file, including any drafts of that file, for the project at issue in this
              lawsuit as well as any supporting files or information relating to the project; and
              Any invoices, bids, quotes, or other documents or communications relating to the project
              at issue in this lawsuit.
      Your client will produce or cause to be produced the Documents located by the expert and will
      provide a privilege log, if necessary, of any relevant Document located by the expert but not
      produced; and
      Philadelphia will timely pay the forensic computer expert for any work done in this process,
      including a retainer if necessary; and
      Philadelphia will reimburse my client $750 for his attorney’s fees incurred in responding to the
      subpoena, retaining the expert, and other work that will benefit only your client.

Please let me know if the above terms are acceptable.

Thanks,
Lisa

Lisa Henderson
Senior Counsel | Clyde & Co US LLP
Direct Dial: +1 214 540 7539 | Mobile: +1 214 632 4723


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From: Kyle Fonville [mailto:kfonville@deckerjones.com]
Sent: Tuesday, November 12, 2019 8:53 AM
To: Henderson, Lisa
Subject: No. 7:19-cv-00107-DC; Third Party Subpoena to Sam Rogers

Lisa,
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To follow up on our phone conversation from Friday, my client’s position is that he has fully complied
the enforceable provisions of the subpoena, if any. He has given you everything that he has kept in the
regular course of his business relating to the YMCA project at issue in your lawsuit. As I stated in our
call, I am not sure that any of your requests are even relevant to the claims in the lawsuit against the
Odessa Family YMCA. Specifically, your client appears to be seeking to set aside the umpire’s award
“because it was: (1) made without authority; (2) made as a result of fraud, accident, or mistake; and/or
(3) not in compliance with the requirements of the policy.” Original Complaint, p. 1-2. The first and
third bases for setting the award aside have nothing to do with my client, and no document in his file
would support the relief you seek on those allegations. Likewise, my client’s file cannot possibly be
relevant to establishing an alleged “accident” or “mistake” by the umpire. The only, even arguably,
relevant allegation would be fraud. My client emphatically denies that he was a party to any such fraud.
Furthermore, you have pleaded no facts whatsoever to support this allegation, and I do not believe the
court will allow you to conduct such invasive third-party discovery based on a claim that you have not
and cannot articulate in your live pleading. For these reasons, among others, I believe my client owes no
further duty with respect to the subpoena, and he is prepared to litigate this issue if necessary.

In an effort to avoid that process, however, my client will agree to the following discovery procedures
on the following terms:
       Philadelphia release my client from any and all claims or causes of action relating to the appraisal
       at issue in the lawsuit, including without limitation claims that my client wrongfully deleted any
       files despite the fact that doing so was and is his regular business practice;
       My client will retain a forensic computer expert to search for any of the following documents
       (defined as the “Documents”) contained on my client’s computer;
               All communications with the umpire;
               My client’s Xactimate file, including any drafts of that file, for the project at issue in this
               lawsuit as well as any supporting files or information relating to the project; and
               Any invoices, bids, quotes, or other documents or communications relating to the project
               at issue in this lawsuit.
       My client will produce or cause to be produced the Documents located by the expert and will
       provide a privilege log, if necessary, of any relevant Document located by the expert but not
       produced;
       Philadelphia will timely pay the forensic computer expert for any work done in this process,
       including a retainer if necessary; and
       Philadelphia will reimburse my client $750 for his attorney’s fees incurred in responding to the
       subpoena, retaining the expert, and other work that will benefit only your client.

Please let me know if these terms are acceptable to your client, and we will proceed with getting you
this information.

Kyle



 Kyle B. Fonville
 DECKER JONES, P.C.
 801 Cherry Street, Unit #46
 Burnett Plaza, Suite 2000
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